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AO 91 (Rev. 08/09) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                        Western District of Texas
                                                                                                            20l9 SEP 27 t\:110: 21
                  United States of America                              )
                             v.                                         )
                   Ernesto Hilario Lopez                                )      3:19-M -08662(1,2)
                    Martin Lopez Lopez                                  )
                                                                        )
                                                                        )
                           Defendant(s)


                                                       CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _ __.:S=-:e:o.~:p""te=.:mc:=b-=.:er'-'2=.:6"-'-,-=2=-=0'-"1-=-9_ _ _ in the county of _ _ _ _E_I_P_a_s_o_ _ _ _ in the
     We stem           District of _ _ ___,_T_,e.<>Cxa,s,______ , the defendant(s) violated:

        Code Section                                                         Offense Description
8 USC 1324(a)(1 )(A)(v)(l)                       Conspiracy to Transport Illegal Aliens




         This criminal complaint is based on these facts:
See attachment




         ~ Continued on the attached sheet.




                                                                                              Rene Robles. HSI Special Agent
                                                                                                      Printed name and title

Sworn to before me and signed in my presence.


Date:             09/27/2019                                                                                      t.
City and state:                           EIPaso Texas                                        Miguel Torres, Magistrate Judge
                                                                                                      Printed name and title
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On September 26, 2019, the Texas Department of Public Safety (DPS) Highway Patrol
conducted a traffic stop on a black 2006 Ford Focus Texas license plates CD8K676 on Loop 375
near the intersection of Railroad Drive. The reason for the traffic stop was following too closely.
The driver of the vehicle was identified as Ernesto Hilario LOPEZ. The person sitting in the
front passenger seat was identified as Martin LOPEZ-Lopez. Upon approaching the vehicle, the
state trooper observed two additional subjects sitting on the rear seat the vehicle. The DPS
trooper requested identification from all occupants. The two occupants sitting on the rear seat
provided Brazilian passports and did not appear to speak English. The state trooper contacted
United States Border Patrol (USBP) to respond to the scene. USBP determined the two
occupants sitting on the rear seat were undocumented aliens illegally present in the United
States. USBP notified Homeland Security Investigations Special Agents of the incident.

Ernesto Hilario LOPEZ, Martin LOPEZ-Lopez, and the suspected illegal aliens were transported
to the Homeland Security Investigations Office for processing and interview.

Ernesto Hilario LOPEZ was made aware of his Miranda Rights in Spanish and agreed to answer
questions without the presence of an attorney. During the interview, Ernesto Hilario LOPEZ
stated that he was aware he was transporting illegal aliens. Ernesto Hilario LOPEZ stated that he
was going to be paid $200 dollars for transporting the two aliens within El Paso, Texas and
delivering them to an unknown subject. Ernesto Hilario LOPEZ also stated that he and Martin
LOPEZ-Lopez were provided with $1,000 dollars to deliver to the unknown subject along with
the two aliens. Ernesto Hilario LOPEZ stated that he and Martin LOPEZ-Lopez crossed from
Ciudad Juarez, Chihuahua, Mexico to El Paso, Texas with the intention of transporting these two
illegal aliens within El Paso, Texas.

Martin LOPEZ-Lopez was made aware of his Miranda Rights in Spanish and agreed to answer
questions without the presence of an attorney. During the interview, Martin LOPEZ-Lopez
stated that at first, he did not know the two subjects they were picking up were illegal aliens, but
figured it out once he met them. Martin LOPEZ-Lopez stated that he was going to be paid $200
dollars for transporting the two illegal aliens within El Paso, Texas and delivering them to an
unknown subject along with $1,000 dollars they were provided in Mexico. Martin LOPEZ-
Lopez stated that an unknown subject was directing them via phone as to where to go pick up
and deliver the illegal aliens.
